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AO 442 (Rev. 11111) Arrest Warrant




                                                       UNITED STATES DISTRICT COURT
                                                                                                 for the

                                                                                       District of Columbia

                            United States of America
                                                                                                   )     Case: 1:21-mj-00596
                                               v.                                                  )     Assigned to: Judge Meriweather, Robin M.
                                                                                                   )     Assign Date: 9/9/2021
                                      Gary Wilson                                                  )     Description: COMPLAINT WI ARREST WARRANT
                                                                                                   )
                                                                                                   )
                                       Defendant


                                                                                ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED                                to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                 Gary Wilson
                                             ---------------------------------------------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment                   o     Superseding Indictment                          o Information         o   Superseding Information          11 Complaint
o     Probation Violation Petition                            o    Supervised Release Violation Petition                 o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:
18 USC   § 1512(c)(2) and 2 Obstruction ofan Official Proceeding and Aiding & Abetting;
18 USC   § 1752(a)(I) Entering and Remaining in a Restricted Building or Grounds;
18 USC   § I 752(a)(2) Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 USC   § 5104(e)(2)(D) Disorderly Conduct in a Capitol Building;
40 USC   § 5104(e)(2)(G) Parading, Demonstrating, or Picketing in a Capitol Building;
40 USC   § 5104(e)(2)(B) Entering and Remaining in the Gallery of Congress;




Date:                09/09/2021
                                                                                                                              Issuing officer's signature


City and state:                               Washin          on D.C.                                                                                               e
                                                                                                                           Printed name and title


                                                                                                Return

             This warrant was received on                                     t.(   1'7/~)             , and the person was arrested on
at   (city and state)       ~--(         ~             ('3 ,\If' '
                                                              (date)                                                                       (date)




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AO 91 (Rev. 11/11) Criminal Complaint


                                             UNITED STATES DISTRICT COURT
                                                                                    for the
                                                                          District of &ROXPELD

                  United States of America                                              )
                             v.                                                         )   Case·: 1:211-mj-00596
                    *DU\:LOVRQ ()                                            )      Case No.to: Judge Meriweather. IRobriin M.
                                                                                            Assigned
                                                                                        )   Assign Date: 9/9/2021
                                                                                        )   Description: COMPLAINT W/ ARREST WARRANT
                                                                                        )
                                                                                        )
                            Defendant(s)


                                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                               January 6, 2021                        in the county of                                in the
                          LQWKH'LVWULFWRI                  &ROXPELD , the defendant(s) violated:
             Code Section                                                                            Offense Description
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         This criminal complaint is based on these facts:
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                                                                                                                     Complainant’s signature

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                                                                                                                     Printed name and title

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Date:             0
                                                                                                                        Judge’s signature

City and state:                                 :DVKLQJWRQ'&                                    5RELQ00HULZHDWKHUU.S. Magistrate Judge
                                                                                                                     Printed name and title



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                                      STATEMENT OF FACTS

           Your affiant, Matthew Foulger, is a Special Agent with the United States Department of
   Justice, Federal Bureau of Investigation (FBI) and has been employed in that capacity for nine
   years. I am currently assigned to the Salt Lake City Division of the FBI and have primary
   investigative responsibility for federal crimes related to national security and domestic terrorism.
   I have gained experience in the conduct of such investigations through previous case
   investigations, formal training, and in consultation with law enforcement partners in local, state,
   and federal law enforcement agencies. Currently, I am tasked with investigating criminal activity
   in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
   or by a Government agency to engage in or supervise the prevention, detection, investigation, or
   prosecution of a violation of Federal criminal laws.

           The United States Capitol (“the Capitol”) is secured 24 hours a day by U.S. Capitol Police
   (“USCP”). Restrictions around the Capitol include permanent and temporary security barriers and
   posts manned by USCP. Only authorized people with appropriate identification were allowed
   access inside the Capitol on January 6, 2021. Further, the exterior plaza of the Capitol was also
   closed to members of the public.

           On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
   which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
   of the United States House of Representatives and the United States Senate were meeting in
   separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
   Presidential Election. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
   approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
   particular objection. Vice President Michael Pence was present and presiding, first in the joint
   session, and then in the Senate chamber.

          As the proceedings continued in both the House and the Senate, and with Vice President
   Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. At
   such time, the exterior doors and windows of the U.S. Capitol were locked or otherwise secured.
   Members of the USCP attempted to maintain order and keep the crowd from entering the Capitol;
   however, around 2:00 p.m., individuals in the crowd forced entry into the Capitol, including by
   breaking windows and by assaulting members of law enforcement, as others in the crowd
   encouraged and assisted those acts.

           Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
   Representatives and United States Senate, including Vice President Pence, were instructed to—
   and did—evacuate the chambers. Accordingly, the joint session of the United States Congress was
   effectively suspended. Vice President Pence remained in the United States Capitol from the time
   he was evacuated from the Senate Chamber until the sessions resumed at approximately 8:00 p.m.

          On January 6, 2021, Gary Wilson of Salt Lake City, Utah was captured on Metropolitan
   Police Department body-worn camera video outside the Capitol at approximately 2:00 p.m. with
   co-defendants Patrick Montgomery and Brady Knowlton in a large crowd of rioters. Wilson was
   wearing a blue hooded sweatshirt and a black puffy jacket with a white Infowars tee-shirt over it




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   with the slogan, “Give me Liberty” and a Revolutionary War soldier depicted holding an
   automatic weapon. Wilson was also wearing a black backpack and gray baseball hat with a red,
   white, and blue emblem, as shown in the screenshot below from USCP CCTV footage.




          While Wilson was outside the Capitol, a platoon of MPD officers tried to move through
   the crowd on its way to assist USCP officers who were attempting to keep rioters out of the Capitol.
   The crowd surrounded the platoon and assaulted several officers. Officer Daniel Hodges’ body-
   worn camera footage from 2:01:38 p.m. captures Wilson standing with the crowd.




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       At around 2:00 p.m. co-defendant Brady Knowlton confronted MPD officers who were
   making their way through the crowd and yelled at them saying, “You took an oath! You took an
   oath!” and “Are you our brothers?” Co-defendant Patrick Montgomery came up from behind
   Knowlton and said something to the officers, but it was hard to tell what he said. Officer Hodges
   then moved forward a few steps through the crowd. Wilson can be seen on Hodges’ video
   standing in the crowd (see screenshot above)—not far from where Montgomery and Knowlton
   were standing. In fact, Officer Hodges and Wilson collided as Officer Hodges tried to make his
   way through the crowd.

            At approximately 2:02 p.m., Montgomery assaulted MPD Officer Hodges. An FBI
   special agent interviewed Officer Hodges on February 24, 2021. Officer Hodges told the FBI
   agent that at about 2:00 p.m. on January 6, 2021, he was making his way toward the west side of
   the Capitol to assist other officers. He was part of a platoon of about 35-40 officers. Officer
   Hodges said that right before 2:02 p.m., a very agitated crowd cut-off the platoon’s progress and
   split the group of 35-40 officers into smaller groups. Officer Hodges and a small group of
   officers ended up encircled by the crowd and the crowd was yelling at them “remember your
   oaths.”

           Officer Hodges said that he was at the front of the group and attempted to make a hole
   through the crowd for himself and the other officers to continue their movement toward the
   Capitol. He yelled “make way” to the crowd. While trying to get through the crowd, he looked
   back to see other officers being assaulted by members of the crowd, which was yelling “push”
   while making contact with the officers. Hodges immediately turned back and started pulling
   assaulting members of the crowd off the other officers by grabbing their jackets or backpacks.
   After pulling a few people away from the officers, a man—later identified as Patrick
   Montgomery—came at Officer Hodges from his side and grabbed Officers Hodges’ baton and




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   tried to pull it away from him. Officer Hodges immediately started to fight back and the two of
   them went to the ground, at which time Montgomery kicked Officer Hodges in the chest.

          As Officer Hodges went down to the ground, his medical mask covered his eyes, which
   temporarily blinded him. He was laying on the ground, could not see, and was fighting to retain
   his weapon while surrounded by a violent and angry crowd. In that moment, he was afraid
   because he was in a defenseless position because of the assault. He was able to break
   Montgomery’s grip on the baton and get free.

         Right after Montgomery assaulted Officer Hodges, Wilson can be seen on Officer
   Hodges’ BWC talking to Montgomery who had moved back into the crowd as shown below




           Tear gas was then deployed, while Wilson stood with the crowd and shouted at the
   officers, “USA! USA! USA!”




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   As seen on video footage from ProPublica, Wilson watched as a member of the crowd sprayed
   what appeared to be pepper spray in the face of one of the MPD officers:




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          About thirty minutes later, at 2:35 p.m., Wilson was captured on USCP CCTV entering the
   Capitol through the Upper West Terrace door along with co-defendants Knowlton and
   Montgomery, as shown in the screenshot below:

       Gary Wilson

        Patrick Montgomery

       Brady Knowlton




   After first going into the Rotunda for about two minutes, at around 2:40 pm., Wilson, along with
   Knowlton and Montgomery, entered the Gallery Stairs and walked to the Third Floor as shown on
   USCP CCTV captured below:




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           About one minute later, they entered the Senate Gallery hallway where they joined a group
   of rioters. Several rioters assaulted a USCP officer who was trying to prevent them from entering
   the Senate Gallery. Wilson was within inches of the assault, as captured below from another
   rioter’s GoPro camera video:

                                                               Rioters assaulting
                                                               this USCP officer




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          After the assault, the USCP officers fled the hallway and Wilson, Knowlton, and
   Montgomery entered the Senate Gallery at about 2:44 p.m. Once inside the Senate Gallery, Wilson
   appears to walk around and look down at the Senate Chamber below. He then left with Knowlton
   and Montgomery at about 2:48 p.m.

          About two minutes later, Wilson, along with Knowlton and Montgomery, entered a second
   floor hallway, where they confronted MPD officers, who prevented them—and other rioters—
   from walking further down the hallway, as captured below:




   A shortened summary of their statements to law enforcement is provided below:

          Knowlton: “All you gotta do is step aside. You’re not getting in trouble. Stand down. For
          the love of your country.”

          Unidentified rioter: “What happens if we push? Do you back up? We’re not gonna push
          hard.”

          Knowlton: “This is happening. Our vote doesn’t matter, so we came here for change.”

          Unidentified rioter: “We want our country back. You guys should be out arresting the
          Vice President right now.”

          Wilson: “We came all the way from our jobs to do your job and the freaking senators’
          job.”

   Eventually Wilson, Montgomery, and Knowlton turned around and walked toward an exit before
   stopping and again confronting police officers as shown on USCP CCTV, captured below.




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   At about 2:54 p.m., Wilson, Montgomery, and Knowlton left the building.

          On August 6, 2021, your affiant interviewed a witness, W-1, who is a family member of
   Wilson and has known Wilson for many years. W-1 identified Gary Wilson in screenshots inside
   the Capitol on January 6, 2021. W-1 also told your affiant that Wilson said he was in Washington,
   D.C. on January 6, 2021.

          Pursuant to legal process, American Airlines confirmed that Wilson traveled from Salt
   Lake City to Washington, D.C. on January 4, 2021. He then took a return flight home on January
   7, 2021. Further, call records provided by Verizon pursuant to legal process show one call made
   between a number registered to Knowlton and a number registered to Wilson on January 6, 2021,
   and four calls between them on January 7, 2021.

            Based on the foregoing, your affiant submits that there is probable cause to believe that
   Gary Wilson violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
   enter or remain in any restricted building or grounds without lawful authority to do; and (2)
   knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
   official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
   restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
   orderly conduct of Government business or official functions. For purposes of Section 1752 of
   Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
   building or grounds where the President or other person protected by the Secret Service, including




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   the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
   conjunction with an event designated as a special event of national significance.

           Your affiant submits there is also probable cause to believe that Gary Wilson violated 40
   U.S.C. § 5104(e)(2)(B), (D), and (G), which makes it a crime to willfully and knowingly (B) enter
   or remain in the gallery of either House of Congress in violation of rules governing admission to
   the gallery adopted by that House or pursuant to an authorization given by that House; (D) utter
   loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
   in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
   orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
   that building of a hearing before, or any deliberations of, a committee of Congress or either House
   of Congress; (G) parade, demonstrate, or picket in any of the Capitol Buildings.

   Finally, your affiant submits there is probable cause to believe that Gary Wilson violated 18 U.S.C. §
   1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding, or
   attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.



                                                          _________________________________
                                                          Special Agent Matthew Foulger
                                                          FBI

   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
   by telephone, this _____ day of September 2021.


                                                          ___________________________________
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                                                          U.S. MAGISTRATE JUDGE




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AO 442 (Rev. 11/11) Arrest Warrant



                                                        UNITED STATES DISTRICT COURT
                                                                                                     for the

                                                                                      District of&ROXPELD

                             United States of America
                                                                                                       )   Case·: 1:21I-mj-00596
                                                v.                                                     )      Case No.to: Judge Meriweather. !Roblin M.
                                                                                                           Assigned
                                                                                                       )   Assign Date: 9/9/2021
                                       *DU\:LOVRQ                                                     )   Description: COMPLAIN W/ ARIRESl WARRANT
                                                                                                       )
                                                                                                       )
                                        Defendant


                                                                                ARREST WARRANT
To:        Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                      *DU\:LOVRQ                                                                                                            ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment                        u Superseding Indictment                             u Information             u Superseding Information             ;
                                                                                                                                                         u Complaint
u Probation Violation Petition                                u Supervised Release Violation Petition                        u Violation Notice          u Order of the Court

This offense is briefly described as follows:
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Date:                 2021
                                                                                                                                  Issuing officer’s signature

City and state:                                :DVKLQJWRQ'&                                                  5RELQ00HULZHDWKHU, U.S. Magistrate Judge
                                                                                                                                Printed name and title


                                                                                                     Return

           This warrant was received on (date)                                                             , and the person was arrested on (date)
at (city and state)                                                                              .

Date:
                                                                                                                             Arresting officer’s signature



                                                                                                                                Printed name and title



                                                                                                                                                                          16
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Case 2:21-mj-00714-CMR
          Case 1:21-mj-00596-RMM
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                                                   Assigned to: Judge Meriweather, Robin M.
                                                                    Assign Date: 9/9/2021
                                                                    Description: COMPLAINT W/ ARREST WARRANT


                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                          :    CASE NO.
                                                      :
                           v.                         :    VIOLATIONS:
                                                      :
    GARY WILSON,                                      :   18 USC § 1512(c)(2) and 2 Obstruction of an
                                                      :   Official Proceeding and Aiding & Abetting;
                                Defendant.            :   18 USC § l 752(a)(l) Entering and
                                                      :   Remaining in a Restricted Building or
                                                      :   Grounds;
                                                      :   18 USC § l 752(a)(2) Disorderly and
                                                      :   Disruptive Conduct in a Restricted Building
                                                      :   or Grounds;
                                                      :   40 USC § 5104(e)(2)(D) Disorderly Conduct
                                                      :   in a Capitol Building;
                                                      :   40 USC § 5104(e)(2)(G) Parading,
                                                      :   Demonstrating, or Picketing in a Capitol
                                                      :   Building;
                                                      :   40 USC § 5104(e)(2)(B) Entering and
                                                      :   Remaining in the Gallery of Congress;


                                                 ORDER

          This matter having come before the Court pursuant to the application of the United States

   to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

   the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

   and serious jeopardy to the investigation, the United States has established that a compelling

   governmental interest exists to justify the requested sealing.



          1.     IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

   that the affidavit in support of criminal complaint and other related materials, the instant

   application to seal, and this Order are sealed until the arrest warrant is executed.


                                                     1




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          2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

   public docket of the arrest warrant until it is executed.



   Date: September , 2021                                ___________________________________
                                                          HON. ROBIN M. MERIWEATHER,
                                                          UNITED STATES MAGISTRATE JUDGE




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Order Setting Conditions of Release (Modified 07/07/20 UT)




                         United States District Court
                                                             DISTRICT OF UTAH


    UNITED STATES OF AMERICA                                                     ORDER SETTING
                               V.                                             CONDITIONS OF RELEASE
                        Gary Wilson

                                                                               Case Number: 2:21mj714 -CMR


IT IS SO ORDERED that the release of the defendant is subject to the following conditions:

(1) The defendant must not commit any offense in violation of federal, state or local or tribal law while on release in
    this case.

(2) The defendant must immediately advise the court, defense counsel and the U.S. attorney in writing of any change
    in address and telephone number.

(3) The defendant must appear in court as required and must surrender for service of any sentence imposed.
                                                                                              U.S. District Court- District of
           The defendant must next appear at (if blank, to be notified)
                                                                                                        Columbia
                                                                                                            PLACE

          via zoom                                                                  on          9/16/2021 at 1:00 pm EST
                                                                                                       DATE AND TIME



                                  Release on Personal Recognizance or Unsecured Bond

     IT IS FURTHER ORDERED that the defendant be released provided that:

(4) The defendant promises to appear in court as required and to surrender for service of any sentence imposed.

(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

          Enter text.                                                           dollars   ($) Enter text.

     in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




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                                              Additional Conditions of Release
         Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant
and the safety of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the
conditions marked below:

    (6) The defendant must:

        ☒ (a) maintain or actively seek verifiable employment and/or maintain or commence an educational program as approved
              by the pretrial officer.
        ☒ (b) abide by the following restrictions on his/her personal associations, place of abode, or travel:
              ☒ (i) maintain residence and do not change without prior permission from the pretrial officer.
              ☒ (ii) not travel outside the state of Utah without prior permission from the pretrial officer.
              ☒ (iii) not travel outside the United States without prior permission from the Court.
        ☒ (c) avoid all contact, directly or indirectly, with any person who is or may be an alleged victim, potential witness and/or
              codefendant in the investigation or prosecution. List of persons to be provided to the defendant by the Government
              by the end of the week.
        ☒ (d) report on a regular basis to the pretrial officer as directed. Immediately report to the pretrial officer any contact with
              law enforcement personnel, including arrests, questioning, or traffic stops.
        ☒ (e) not possess a firearm, ammunition, destructive device, or other dangerous weapon.
        ☐ (f) ☐ not use alcohol, ☐ not use alcohol to excess, ☐ not frequent establishments where alcohol is the main item of
              order.
        ☐ (g) not use or unlawfully possess a narcotic drug and other controlled substances defined in 21 U.S.C.§ 802 unless
              prescribed by a licensed medical practitioner. Prescriptions should be reported to the pretrial officer. You shall not
              use, possess, ingest, or market products containing THC in any form or CBD products which are not obtained from a
              pharmacy by prescription.
        ☐ (h) submit to drug/alcohol testing as directed by the pretrial officer; defendant shall pay all or part of the cost of the drug
              testing:
              ☐ (1) if testing reveals illegal drug use, the defendant must participate in drug and/or alcohol abuse treatment, if
                        deemed advisable by the pretrial officer; defendant shall pay all or part of the cost of the program, based
                        upon your ability to pay as the pretrial officer determines.
              ☐ (2) if testing reveals illegal drug use, the court will be notified immediately, with further action to be
                        determined.
        ☐ (i) you must submit to Remote Alcohol Testing and abide by all of the program requirements for a period of -* days.
              You must pay all or part of the costs of participation in the program as directed by the pretrial officer.
        ☐ (j) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by
              the pretrial officer; defendant shall pay all or part of the cost of the program, based upon your ability to pay as the
              pretrial officer determines.
        ☐ (k) undergo mental health evaluation and complete any recommended treatment, as directed by the pretrial officer, and
              take any mental health medications as prescribed; defendant shall pay all or part of the cost of the program, based
              upon your ability to pay as the pretrial officer determines.
        ☐ (l) surrender any passport to the United States Clerk of the Court, District of Utah.
        ☐ (m) not obtain or apply for passport.
        ☐ (n) not incur new credit charges or open additional lines of credit without prior permission from the pretrial officer.
        ☐ (o) not be employed in any fiduciary capacity or any position allowing access to credit or personal information of
              others.
        ☐ (p) not view, access or possess any sexually explicit materials.
        ☐ (q) not have contact with individuals under 18 years of age without the supervision of an adult who is previously
              approved by the Court or pretrial officer.
        ☐ (r) participate in one of the following location restriction program components and abide by its requirements as the
              pretrial officer instructs. Pay all or part of the cost of location monitoring based upon your ability to pay as
              determined by the pretrial officer. No overnight travel without Court approval.
              ☐ (i) Curfew. You are restricted to your residence every day (Enter) from Enter to Enter or ☐ as directed by
                        the pretrial officer; or
              ☐ (ii) Home Detention. You are restricted to your residence at all times except for employment, education,
                        religious services, medical, substance abuse or mental health treatment, attorney visits, court appearances,
                        court-ordered obligations, or other activities preapproved by the pretrial officer; or
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               ☐ (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for medical necessities and
                         court appearances or other activities specifically approved by the Court.
                ☐ (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration
                         restrictions. However, you must comply with the location or travel restrictions as imposed by the court.
                         Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS)
                         technology.
         ☐ (s) submit to the following location monitoring technology and comply with its requirements as directed:
               ☐ (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
               ☐ (ii) Radio Frequency (RF);
               ☐ (iii) Global Positioning Satellite (GPS);
               ☐ (iv) Voice Recognition Monitoring (requires analog phone service at approved residence at participant’s
                    expense);
               ☐ (v) Virtual Monitoring Application (requires smartphone with location services and push notification features
                    enabled at participant’s expense).
         ☒ (t) submit person, residence, office, or vehicle to a search, conducted by the pretrial officer at a reasonable time and in
               a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
               release; failure to submit to a search may be grounds for revocation; the defendant will warn any other residents that
               the premises may be subject to searches pursuant to this condition.
         ☐ (u) participate in the United States Probation and Pretrial Services Office Computer and Internet Monitoring Program
               under a ☐ co-payment plan or ☐ non-co-payment plan, and will comply with the provisions outlined in:
               ☐ (i) Appendix A - Limited Internet Access (Computer and internet use, as approved);
               ☐ (ii) Appendix B - Restricted Internet Access (Computer access only, as approved);
               ☐ (iii) Appendix C - Restricted Computer Access (No computer or internet access except for approved
                         employment).

                  All computers, internet accessible devices, media storage devices, and digital media accessible to the defendant are
                  subject to manual inspection/search, configuration, and the installation of monitoring software and/or hardware.

                  The defendant must submit person, residence, office, or vehicle to a search, conducted by the pretrial officer at a
                  reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
                  violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant will
                  warn any other residents that all computers, internet accessible devices, media storage devices, and digital media
                  may be subject to searches pursuant to this condition.

         ☐ (v) execute a bond or an agreement to forfeit upon failing to appear as required, the following sum of money or
               designated property.
         ☐ (w) post with the court the following indicia of ownership of the above-described property, or the following amount or
               percentage of the above-described money:
         ☐ (x) execute a bail bond with solvent sureties in the amount of $ Enter text.
         ☐ (y) be placed in the custody of a third party, who agrees (a) to supervise the defendant in accordance with all the
               conditions of release, (b) to use every effort to assure the appearance of the defendant at all scheduled court
               proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or
               disappears.

                  Name of person or organization
                  Address
                  City and state  (Tel no.)

                                                                Signed:__________________________________________________
                                                                                                                   Custodian or Proxy
☐        (7)      The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
                  42 U.S.C. § 14135a.

☐        (8)     Attend Pretrial Pathways Program as directed by Pretrial Services.

☒        (9)      Additional conditions: Defendant is not to travel to and stay away from Washington, D.C. unless it is specifically
for a court proceeding.


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                                              Advice of Penalties and Sanctions

TO THE DEFENDANT:

         YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.
         The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence will be in addition to any other sentence.
         Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to obstruct a
criminal investigation. It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to tamper with a
witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to
intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted
of:
         (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you will be
                fined not more than $250,000 or imprisoned for not more than 10 years, or both;
         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you will be fined
                not more than $250,000 or imprisoned for not more than five years, or both;
         (3) any other felony, you will be fined not more than $250,000 or imprisoned not more than two years, or both;
         (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

         A term of imprisonment imposed for failure to appear or surrender must be in addition to the sentence for any other offense.
In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                Acknowledgment of Defendant
         I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed and to surrender for service of any sentence imposed. I am aware of the penalties and
sanctions set forth above.


                                                                              ______________________________________________
                                                                                            Signature of Defendant


                                                                              ______________________________________________
                                                                                               City and State

                                          Directions to the United States Marshal

☒     The defendant is ORDERED released after processing.
☐     The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
      defendant has posted bond and/or complied with all other conditions for release. The defendant must be produced before the
      appropriate judicial officer at the time and place specified, if still in custody.
                                                                                     ~-r(l~
           9/13/2021
Date: ______________________________________________                          ______________________________________________
                                                                                          Signature of Judicial Officer



                                                                               Cecilia M. Romero, United States Magistrate Judge
                                                                              ______________________________________________
                                                                                        Name and Title of Judicial Officer
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                                                             SEALED,CLOSED,DT_ROMERO,FPD
                                                                                   Email All Attys
                                                             Email All Attys and Secondary Emails
           US District Court Electronic Case Filing System
                       District of Utah (Central)
   CRIMINAL DOCKET FOR CASE #: 2:21−mj−00714−CMR−1 *SEALED*

Case title: USA v. SEALED                                  Date Filed: 09/10/2021
                                                           Date Terminated: 09/13/2021

Assigned to: Magistrate Judge
Cecilia M. Romero

Defendant (1)
Gary Wilson                          represented by Richard G. Sorenson
TERMINATED: 09/13/2021                              FEDERAL PUBLIC DEFENDER
                                                    DISTRICT OF UTAH
                                                    46 W BROADWAY STE 110
                                                    SALT LAKE CITY, UT 84101
                                                    (801)524−4010
                                                    Email: richard_sorenson@fd.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Public Defender or Community
                                                    Defender Appointment

Pending Counts                                     Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                  Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                         Disposition
18:1512(c)(2) and 2 Obstruction of
an Official Proceeding and Aiding
and Abetting; 18:1752(a)(1)
Entering and Remaining in a

                                                                                                     1
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Restricted Building or Grounds;
18:1752(a)(2) Disorderly and
Disruptive Conduct in a Restricted
Building or Grounds;
40:5104(e)(2)(D) Disorderly
Conduct in a Capitol Building;
40:5104(e)(2)(G) Parading,
Demonstrating, or Picketing in a
Capitol Building;
40:5104(e)(2)(B) Entering and
Remaining in the Gallery of
Congress



Plaintiff
USA                                              represented by Jacob J. Strain
                                                                US ATTORNEY'S OFFICE
                                                                111 S MAIN ST STE 1800
                                                                SALT LAKE CITY, UT 84111−2176
                                                                (801)325−3285
                                                                Email: jacob.strain@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Assistant US Attorney

 Date Filed     # Page Docket Text
 09/10/2021     1         Arrest (Rule 5) of Gary Wilson Warrant out of the USDC District of Columbia.
                          Assigned to Magistrate Judge Cecilia M. Romero. (Attachments: # 1 Complaint,
                          # 2 Statement of Facts, # 3 Warrant, # 4 Order)(mas) (Entered: 09/10/2021)
 09/13/2021     2         **SEALED DOCUMENT** PRETRIAL SERVICES REPORT as to Gary
                          Wilson (mec) (Entered: 09/13/2021)
 09/13/2021     3         Minute Entry for proceedings held before Magistrate Judge Cecilia M. Romero:
                          Initial Appearance in Rule 5/5.1 Proceedings as to Gary Wilson held on
                          9/13/2021. All parties appear via zoom. Defendant present via zoom not in
                          custody. Court appoints FPD counsel. Appearance entered by Richard G.
                          Sorenson for Gary Wilson on behalf of defendant. Added attorney Richard G.
                          Sorenson for Gary Wilson. Waiver of Rule 5 Hearings reviewed and accepted in
                          court and will be submitted. Government does not seek detention. Court hears
                          from both parties. For the reasons stated on the record, Court orders Defendant to
                          remain released on standard and special conditions. SEE ORDER SETTING
                          CONDITIONS OF RELEASE. Court sets initial appearance via zoom in
                          USDC−DC before Magistrate Judge Zia M. Faruqui on Thursday, 9/16/21 at
                          1:00 pm Eastern Standard Time.

                          Attorney for Plaintiff: Jacob Strain, Attorney for Defendant: Richard Sorenson,
                          FPD. Interpreter: Not Needed. Probation Officer: Jennifer Wollitz. Court
                          Reporter: Electronic/Zoom.(Time Start: 1:05 PM, Time End: 1:43 PM, Room
                          Zoom 8.400.) (mas) (Entered: 09/13/2021)



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09/13/2021   4     DOCKET TEXT ORDER as to Gary Wilson. Under the Due Process Protections
                   Act, the Court confirms the prosecution's obligation under Brady v. Maryland,
                   373 U.S. 83 (1963) and its progeny to timely produce to the defendant all
                   exculpatory evidence in the government's possession. Failure to timely do so
                   may result in exclusion of evidence, adverse jury instructions, dismissal of
                   charges, contempt proceedings, or sanctions by the Court. Signed by Magistrate
                   Judge Cecilia M. Romero on 9/13/2021.(mas) (Entered: 09/13/2021)
09/13/2021   5     DOCKET TEXT ORDER APPOINTING FEDERAL PUBLIC DEFENDER as
                   to Gary Wilson No attached document.

                   Representation shall continue for any post−sentencing activities initiated by the
                   US Probation Office. Signed by Magistrate Judge Cecilia M. Romero on
                   9/13/2021.(mas) (Entered: 09/13/2021)
09/13/2021   6     WAIVER of Rule 5(c)(3) Hearing by Gary Wilson. (mas) (Entered: 09/13/2021)
09/13/2021   7     ORDER Setting Conditions of Release as to Gary Wilson NOTE: Any future
                   review of detention will remain with the magistrate judge who entered the first
                   detention order, even if an order of referral to a different magistrate judge is
                   entered on this defendant's case. Signed by Magistrate Judge Cecilia M. Romero
                   on 9/13/2021.(mas) (Entered: 09/13/2021)




                                                                                                       3
